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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE and SALLY ROE,

                          Plaintiffs,
                                                               22-cv-6950 (PMH)
            – against –

COUNTY OF WESTCHESTER, et al.,

                          Defendants.




   COUNTY DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
        PLAINTIFFS’ MOTION TO PROCEED ANONYMOUSLY




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                                  PRELIMINARY STATEMENT

        This Memorandum of Law is respectfully submitted on behalf of GEORGE LATIMER, in

his official capacity as County Executive of Westchester County, TERRANCE RAYNOR, acting

Commissioner of the Westchester County Department of Public Safety in his official capacity, the

WESTCHESTER COUNTY DEPARTMENT OF PUBLIC SAFTEY, and the COUNTY OF

WESTCHESTER (hereinafter collectively, “County Defendants”), in opposition to Plaintiffs’ motion

to proceed anonymously in this matter.

        This Court should deny Plaintiffs’ motion. Plaintiffs have not met their significant burden of

showing that exceptional circumstances exist that would allow them to proceed anonymously.

Plaintiffs’ speculative conjecture that merely references the potential for harm and public humiliation

based on the experiences of public figures and other individuals is not sufficient to overcome the

presumption of openness in judicial proceedings. Further, allowing Plaintiffs to proceed anonymously

would only serve to prejudice the County Defendants. Thus, and for the following reasons, this Court

should deny Plaintiffs’ motion to proceed under pseudonyms because of the important public interest

in maintaining openness in judicial proceedings, and because Plaintiffs’ speculation of potential future

retaliation or harm is not sufficient to justify the extraordinary relief of anonymity.

                                    FACTUAL BACKGROUND

        On June 27, 2022, the County enacted Local Law No. 9-2022, “adding Chapter 425 to the

Laws of Westchester County to ensure safe access to reproductive health care facilities” (hereinafter,

“Chapter 425”). Chapter 425 was a response to conduct occurring near reproductive health care clinics

in the County that exceeded the bounds of protected First Amendment expression—for instance,

blocking entrances to a facility; pushing past staff; and throwing objects at patients. By its express

terms, Chapter 425 targets threatening, harassing, violent, fraudulent, and physically obstructive



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conduct, and is modeled after several federal, state, and municipal laws that have been upheld by

various courts, including the Supreme Court.

          Plaintiffs, two self-described anti-abortion “sidewalk advocates and counselors,” filed this

lawsuit anonymously, challenging Chapter 425 as invalid on its face and as-applied under the First and

Fourteenth Amendments, alleging that their freedoms of expression and religion have been “chilled.”

Compl. ¶¶ 1, 27, 32, 34, 43, 83, & Counts I-III.

          Plaintiffs now seek leave from this Court to proceed under pseudonyms.

                                              ARGUMENT

                  PLAINTIFFS’ PURPORTED PRIVACY INTERESTS DO
                  NOT OVERCOME THE PRESUMPTION OF OPENNESS
                  IN JUDICIAL PROCEEDINGS

          Openness in judicial proceedings is a core principle of American law. See Rapp v. Fowler, 537 F.

Supp. 3d 521, 526 (S.D.N.Y 2021) (“Openness long has been a central tenet of our legal system.”);

Doe v. Shakur, 164 F.R.D. 359, 361 (S.D.N.Y. 1996) (explaining that “lawsuits are public events and

the public has a legitimate interest in knowing the facts involved in them. Among those facts is the

identity of the parties”). This standard is embodied in the Federal Rules of Civil Procedure. Under

Rule 17(a), every “action must be prosecuted in the name of the real party in interest,” and Rule 10(a)

requires that the title of a complaint “name all the parties” to the action.

          The Rule 10(a) requirement, “though seemingly pedestrian, serves the vital purpose of

facilitating public scrutiny of judicial proceedings and therefore cannot be set aside lightly.” Sealed

Plaintiff v. Sealed Defendant, 537 F.3d 185, 188-89 (2d Cir. 2008). Thus, “[f]ederal court proceedings and

records presumptively are public absent a showing of exceptional circumstances.” Rapp, 537 F. Supp.

at 526.

          “District courts have discretion to grant an exception to Rule 10(a) only where the litigant

seeking to proceed anonymously has a substantial privacy interest that outweighs any prejudice to the

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opposing party and ‘the customary and constitutionally-embedded presumption of openness in judicial

proceedings.’” Id. at 526-27 (quoting Sealed Plaintiff, 537 F.3d at 189). In Sealed Plaintiff, the Second

Circuit Court of Appeals identified a non-exhaustive list of ten (10) factors that district courts should

consider in determining whether a litigant can proceed under pseudonym:

          (1) whether the litigation involves matters that are highly sensitive and of a personal
          nature; (2) whether identification poses a risk of retaliatory physical or mental harm
          to the . . . party seeking to proceed anonymously . . . ; (3) whether identification
          presents other harms and the likely severity of those harms . . . ; (4) whether the
          plaintiff is particularly vulnerable to the possible harms of disclosure, particularly in
          light of [their] age; (5) whether the suit is challenging the actions of the government
          or that of private parties; (6) whether the defendant is prejudiced by allowing the
          plaintiff[s] to press [their] claims anonymously, whether the nature of that prejudice
          (if any) differs at any particular stage of the litigation, and whether any prejudice can
          be mitigated by the district court; (7) whether the plaintiff’s identity has thus far
          been kept confidential; (8) whether the public’s interest in the litigation is furthered
          by requiring the plaintiff[s] to disclose [their] identity; (9) whether, because of the
          purely legal nature of the issues presented or otherwise, there is an atypically weak
          public interest in knowing the litigants’ identities; and (10) whether there are any
          alternative mechanisms for protecting the confidentiality of the plaintiff.


537 F.3d at 190 (internal citations, alterations, and quotation marks omitted). Accordingly, district

courts must use their discretion when applying this factor-driven balancing inquiry and weighing the

competing interests. See, e.g., Doe v. Juan Gonzales Agency Corp., No. 21-CV-00610 (PMH), 2022 U.S.

Dist. LEXIS 138996 (S.D.N.Y. Aug. 4, 2022).

        Importantly, “the burden is on the party seeking to proceed pseudonymously to ‘rebut the

presumption of public access.’” Id. (quoting Doe 1 v. Branca USA, Inc., No. 22-CV-03806 (LJL), 2022

U.S. Dist. LEXIS 124177, at *6 (S.D.N.Y July 13, 2022)). As set forth below, Plaintiffs have failed to

carry their burden here.

    A. Plaintiffs Have Not Shown That the Litigation Involves Matters That Are of a Highly
       Sensitive and Personal Nature

        This litigation will not involve matters that are of a highly sensitive and personal nature, which

weighs against the use of pseudonyms. See Sealed Plaintiff, 537 F.3d at 190. While the topic of

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reproductive health can be divisive, Plaintiffs’ personal beliefs about abortion are not matters of a

sensitive and personal nature here. To the contrary—Plaintiffs claim that they have made, and want

to continue to make, their stances on reproductive health care known by counseling others on the

subject in the public fora.

        Courts have been reluctant to permit anonymous pleadings even where a plaintiff brings claims

of a highly sensitive nature (e.g., allegations of sexual assault). See Juan Gonzales, 2022 U.S. Dist. LEXIS

138996 (granting defendant’s motion to compel plaintiff to amend the caption and use her real name

in a matter involving sexual assault allegations); Shakur, 164 F.R.D. at 361-62 (denying plaintiff’s

request for anonymity despite her assertion that she would be “publicly humiliated” if she proceeded

in her own name with claims that the celebrity defendant “brutal[ly]” sexually assaulted her). In those

cases, where the plaintiffs were seeking to press claims relating to personal, traumatizing events,

anonymity was denied even where the plaintiffs were hoping to keep their experiences private. In this

case, Plaintiffs are expecting to go out in public and affirmatively approach strangers to tell those

strangers about Plaintiffs’ beliefs.

        County Defendants note further that this case is different from the vaccine mandate cases that

Plaintiffs rely upon. See Pls.’ Mem., ECF No. 33, at 11-12. By their very nature, vaccine-mandate cases

involve personal health information—plaintiffs in those cases only had standing if they refused a

COVID-19 vaccination. Medical information has been generally found to be the type of information

for which one is entitled to privacy. See Doe v. City of New York, 15 F.3d 264, 267 (2d Cir. 1994). Here,

there is no medical information at issue. As such, these cases are not analogous to the situation herein. 1



1
  Plaintiffs’ reliance on the out-of-circuit, single-page order allowing the use of pseudonyms in
Allentown Women’s Ctr., Inc. v. Sulpizio, 19-cv-1571, ECF No. 72 (E.D. Pa. July 8, 2019), see Pls.’ Mem.
at 12, is misplaced. There, the court permitted five witnesses—a facility provider, employees, and
volunteer escorts—to remain anonymous during the proceedings. But the witnesses were not parties
to the case in which they were providing testimony, as Plaintiffs—who commenced this litigation—
clearly are.
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        In short, Plaintiffs’ opinions about reproductive health care—which they have shared, and

intend to share, with strangers in public—are not matters of a sensitive or highly personal nature, and

do not warrant the relief of proceeding anonymously.

    B. Plaintiffs Have Not Shown a Specific Risk of Retaliatory Physical or Mental Harm; That
       Identification Would Result in Other Harms; or That They Are Particularly Vulnerable to
       Harm

        Plaintiffs appear to rely primarily on the second, third, and fourth factors of the multi-factor

test (see Pls.’ Mem. at 11), which involve the purported harms that Plaintiffs claim they may suffer if

they are not allowed to proceed anonymously. None of these factors supports a finding in favor of

pseudonymity.

        The second Sealed Plaintiff factor considers “whether identification poses a risk of retaliatory

physical or mental harm to the party seeking to proceed anonymously,” and the third regards “other

harms and the likely severity of those harms.” Juan Gonzales, 2022 U.S. Dist. LEXIS 138996, at *4

(internal quotation marks and alterations omitted); see also Sealed Plaintiff, 537 F.3d at 190.

        Certainly, Plaintiffs here cannot claim, nor do they attempt to, that the County Defendants

would retaliate against them if their identities were revealed. As for “other harms,” Plaintiffs point to

distant events and generic fears about a “climate” fostering “violence” against pro-life protesters, as

well as the “doxing” of certain public figures. See generally Pls.’ Mem. at 1-11. But the individuals

identified in Plaintiffs’ brief are not analogous to the Plaintiffs in this case. Nowhere do Plaintiffs cite

a harm to an individual litigant or protester within the County whose experience might serve as a

proxy for Plaintiffs. See id. Rather, Plaintiffs cite incidents involving Justices of the Supreme Court and

the head of a legal organization that has taken on a national role in anti-abortion politics. See id. at 1-

2. Thus, any argument that they will suffer the same harms is purely speculative.

        Indeed, throughout Plaintiffs’ ten-page background section, they cite no instances of a

“sidewalk counselor” being doxed, or facing any violence or vandalism at their homes. See generally Pls.’

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Mem. at 1-10. The closest Plaintiffs come is referring to a counter-protest that occurred outside of a

Catholic Church. See Pls.’ Mem. at 9. However, this does not support a claim for pseudonymity.

Plaintiffs have already identified that they perform their anti-abortion activities outside of two facilities

in New Rochelle and White Plains. See Compl. ¶¶ 28, 36, 77, 78 & Exs. A, C, G, H. As such, whether

their names are known or not, they can easily face counter-protests from pro-choice advocates at

those facilities. In sum, Plaintiffs have presented absolutely no evidence that a single similarly-situated

“sidewalk counselor” faced the types of harms they assert members of the Supreme Court

experienced.

          Plaintiffs also fail to identify any link between the public disclosure of their names and

psychological harm. Plaintiffs do not provide any medical documentation to establish any mental

harm; they merely assert that there is a “substantial” risk of “mental harm” if they are not allowed to

proceed pseudonymously. Pls.’ Mem. at 11. Conjecture that merely references the potential for public

humiliation and embarrassment is insufficient to allow a plaintiff to proceed anonymously. Doe v.

Hochul, No. 21-CV-5067 (AMD) (TAM), 2022 U.S. Dist. LEXIS 49960, at *16 (E.D.N.Y. Mar. 18,

2022) (Merkl, MJ.) (Mem. & Order). Plaintiffs’ conclusory statements here do “not suffice to

overcome the presumption of identification in judicial proceedings, ‘absent more direct evidence

linking disclosure of [Plaintiffs’] name[s] to a specific physical or mental injury.’” Id. (quoting Doe v.

Gong Xi Fa Cai, Inc., No. 19-CV-2678 (RA), 2019 U.S. Dist. LEXIS 114919, at *3 (S.D.N.Y. July 10,

2019)).

          The fourth Sealed Plaintiff factor, which Plaintiffs cannot establish, examines “whether the

plaintiff is particularly vulnerable to the possible harms of disclosure . . . particularly in light of [their]

age.” Sealed Plaintiff, 537 F.3d at 190. Plaintiffs do not argue any vulnerability based on age. Instead,

Plaintiffs argue that they are vulnerable “to these consequences because they are isolated individuals

without a security force or any other means of self-defense, unlike Supreme Court Justices.” See Pls.’

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Mem. at 11. Plaintiffs proffer “no case law for the proposition that this fact would support resolving

the fourth factor in [their] favor,” and as such it weighs against pseudonymity. Juan Gonzales, 2022 U.S.

Dist. LEXIS 138996 (explaining that the fourth Sealed Plaintiff factor weighs against pseudonymity

where plaintiff did not make a showing regarding vulnerability as to her age). Moreover, Plaintiffs’

admission—that they are not like Supreme Court Justices—cuts against their reliance on the doxing

of and threats of violence to those Justices.

        Ultimately, Plaintiffs have failed to establish any specific risk of physical or mental harm that

weighs in favor of pseudonymity. Indeed, Plaintiffs failed to support their motion with any statement

by either Plaintiff that identified a specific fear or risk of harm. See Doe v. Del Rio, 241 F.R.D. 154, 161

(S.D.N.Y. 2006) (requiring plaintiff to proceed under her name where, inter alia, she did not submit an

affidavit setting forth the harm of public disclosure). Given that there is no specific identifiable harm

here, Plaintiffs’ motion should be denied.

    C. Defendants Will Be Prejudiced if Plaintiffs Are Allowed to Proceed Anonymously, Even if
       There is a Confidentiality Agreement

        The sixth Sealed Plaintiff factor requires the Court to consider whether County Defendants will

suffer any prejudice if Plaintiffs were permitted to proceed anonymously. Sealed Plaintiff, 537 F.3d at

190. Plaintiffs’ contention that a confidentiality agreement that reveals Plaintiffs’ identities will

eliminate any prejudice to County Defendants is wrong. County Defendants will continue to be

prejudiced if Plaintiffs are allowed to proceed pseudonymously, as there will still be an inherent

asymmetry in conducting discovery. “Where a case involves potential publicity, asymmetry as to

information and witnesses can occur because—with one party anonymous—‘information about only

one side may . . . come to light’ as a result.” Doe v. Leonelli, No. 22-CV-3732 (CM), 2022 U.S. Dist.

LEXIS 100895, at *13-14 (June 6, 2022) (S.D.N.Y) (quoting Rapp, 537 F. Supp. 3d at 531).

        It would be nearly impossible for County Defendants to obtain needed information from

known local reproductive facilities and/or third-party witnesses without Plaintiffs’ identities, as well
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as subpoena relevant information and documents from third parties. Additionally, County Defendants

will be disadvantaged in finding potentially unknown witnesses that may otherwise not come forward

if they do not know the parties involved, should this case proceed to discovery or to a preliminary

injunction hearing. See id. Indeed, this can be evidenced by this very motion. Plaintiffs assert (without

evidentiary support) that they “do not advocate wearing name tags, so the fact that they advocate in

public has no bearing on their need for pseudonymity.” Pls.’ Mem. at 11. County Defendants have no

way of challenging this unsupported assertion. If Plaintiffs’ names were public, however, it is possible

that a third-party could come forward and say that Sally Roe approached her on the sidewalk,

introduced herself by name, and/or provided other identifying information. Even if County

Defendants knew Sally Roe’s name through a protective order, there would be no way to locate these

potential witnesses. Thus, “maintaining [Plaintiffs’] anonymity could unfairly impede defendant’s

ability to impeach the plaintiffs’ credibility through cross examination and introduction of personal

evidence at trial.” Del Rio, 241 F.R.D. at 159 (internal quotation marks omitted).

        This is particularly important as Plaintiffs have asserted an “as-applied” challenge to the

County’s law, and thus rebutting Plaintiffs’ characterizations of their actions outside of clinics can be

critical. Allowing Plaintiffs to proceed anonymously, County Defendants “will be prejudiced in their

ability to call third-party witnesses.” Juan Gonzales Agency, 2022 U.S. Dist. LEXIS 138996, at *13; see

also Doe v. McLellan, No. 20-CV-5997, 2020 U.S. Dist. LEXIS 232551, at *8 (E.D.N.Y. Dec. 10, 2020)

(holding that “allowing Plaintiff to proceed anonymously would disadvantage the defendant at all

stages of litigation, including settlement, discovery, and trial,” “would make it more difficult to obtain

witnesses and witness testimony, defendant would have less leverage in settlement negotiations, and

defendants would not be able to fully and adequately cross-examine the plaintiff”); Del Rio, 241 F.R.D.

at 159 (“Moreover, concealing the name of a party could deprive a litigant and the court of the chance



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that a yet unknown witness would, upon learning that fact about the case, know to step forward with

valuable information about the events or the credibility of witnesses.”).

    D. Plaintiffs Have Not Shown That Their Identity Has Been Kept Confidential

        The seventh Sealed Plaintiff factor considers “whether the plaintiff’s identity has thus far been

kept confidential.” 537 F.3d at 190. Plaintiffs have completely failed to address whether their identities

have thus far been kept confidential. Critically, as discussed above, Defendants have no way of

verifying whether Plaintiffs have kept their identities confidential to date.

        Pursuant to the pleadings in this matter, Plaintiffs are pro-life “sidewalk counselors” that at

some point engaged in active counseling outside reproductive health facilities. While it is claimed that

they are no longer engaging in these counseling efforts within the County, County Defendants cannot

independently confirm this information. It is also possible that Plaintiffs have been able to participate

in counseling activity outside of the County or engage in other forms of protest, both in person or

online. And if they have done so, the County is entitled to find out as soon as possible—this fact goes

not only to Plaintiffs’ credibility, but to the elements of their causes of action.

    E. The Public’s Interest in the Litigation Is Furthered by Requiring Plaintiffs to Disclose Their
       Identities as the Constitutional Challenge May Be Fact Specific and Involves a Heavily
       Contested Area of the Law That Has a Strong Public Interest

        The eighth and ninth Sealed Plaintiff factors both focus on the public’s strong interest in the

litigation at bar. “The eighth Sealed Plaintiff factor gauges ‘whether the public’s interest in the litigation

is furthered by requiring the plaintiff to disclose his identity.’” Juan Gonzales, 2022 U.S. Dist. LEXIS

138996, at *14 (quoting Sealed Plaintiff, 537 F.3d at 190). The ninth factor relates to whether the

litigation involves factual disputes, or if it is limited to a purely legal matter in which the public would

have an atypically weak public interest. Sealed Plaintiff, 537 F.3d at 190. Generally, the public has an

“interest in litigation” and a “right of access to judicial proceedings.” N. Jersey Media Grp. Inc. v. Doe,

No. 12 Civ. 6152, 2012 U.S. Dist. LEXIS 167317, at *24-25 (S.D.N.Y. Nov. 26, 2012). Furthermore,

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“transparent proceedings foster public confidence in the integrity of the judiciary and serve to

demonstrate to the public that the laws are being enforced even-handedly.” Abdel-Razeq v. Alvarez &

Marsal, Inc., No. 14 Civ. 5601 (HBP), 2015 U.S. Dist. LEXIS 153200, at *19 (S.D.N.Y. Nov. 12, 2015);

see also Leonelli, 2022 U.S. Dist. LEXIS 100895, at *11 (same).

        While it is likely that this action can be resolved purely as a matter of law, there can be no

question that there is an atypically strong public interest in the outcome of this proceeding. Indeed,

Plaintiffs essentially concede as much, discussing the extensive media coverage and public activity

surrounding reproductive health care throughout their papers. See generally Pls.’ Mem. at 1-10. Further,

if this Court does not dispose of the action on purely legal grounds, Plaintiffs’ as-applied challenges

may raise factual disputes, particularly governing the actions of Plaintiffs as “sidewalk counselors.”

Thus, the public interest weighs in favor of full disclosure, and Plaintiffs’ motion should be denied.

    F. There Are Alternative Mechanisms for Protecting the Confidentiality of the Plaintiffs

        The last Sealed Plaintiff factor looks to see if “there are any alternative mechanisms for

protecting the confidentiality of the plaintiff.” 537 F.3d at 190. The existence of adequate alternative

mechanisms for protecting a plaintiff’s confidentiality weighs against allowing anonymity. Doe v. United

States, No. 16-CV-7256, 2017 U.S. Dist. LEXIS 83745, at *4-5 (S.D.N.Y. June 1, 2017); see also Leonelli,

2022 U.S. Dist. LEXIS 100895, at *15.

        Here, Plaintiffs could “‘seek less drastic remedies than blanket anonymity, such as redactions

to protect particularly sensitive information, or a protective order.’” Leonelli, 2022 U.S. Dist. LEXIS

100895, at *15 (quoting Rapp, 537 F. Supp. 3d at 533). Indeed, no one is asking Plaintiffs to publicly

disclose any sensitive information. The relevant information in this action would comprise activities

Plaintiffs undertake in public; if more personal information needed to be exchanged, protective orders

could address those specific items. Accordingly, as alternative mechanisms for protecting

confidentiality exist, the final factor weighs against proceeding anonymously.

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                                          CONCLUSION

        The balancing of the factors weighs against proceeding pseudonymously. The public has a

significant interest in open and transparent judicial proceedings, especially proceedings involving

constitutional challenges to an existing law of the County, and County Defendants would be

prejudiced if Plaintiffs were permitted to proceed anonymously. As Plaintiffs have not shown

sufficiently valid reasons to overcome the presumption of openness in court proceedings so as to

provide them with special privacy protections, this application should be denied in its entirety.

        WHEREFORE, County Defendants respectfully request that Plaintiffs’ motion to proceed

pseudonymously be denied in its entirety, and for such other and further relief as this Court deems

just and proper.


Dated: White Plains, New York
       October 14, 2022


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